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                                      UNITED STATES DISTRICT COURT
                                       DISTRICT OF MONTANA MISSOULA DIVISION
                                                                                                                      FILED
                                                                                                    SEP 11 2019
 UNITED STATES OF AMERICA                                                      JUDGMENT IN A CRIMll,P.o_f ~~~ct Court
                                                                                                                      District Of Montana
                                                                                                                            Missoula
 V.
                                                                               Case Number: CR 19-13-M-DWM-2
 JENNIFER JILL D'ANNA                                                          USM Number: 23948-112
                                                                               Timothy M. Bechtold
                                                                               Defendant's Attorney



THE DEFENDANT:
 ~     pleaded guilty to count(s)                             1
       pleaded nolo contendere to count(s) which was
 •     accented bv the court
       was found guilty on count(s) after a plea ofnot
 •     mriltv

The defendant is adjudicated guilty of these offenses:
 Title & Section/ Nature of Offense                                                                   Offense Ended            Count
 21 :846=Cd.F - Conspiracy To Distribute Methamphetamine With Forfeiture Allegation                   02/11/2019               1




The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 D     The defendant has been found not guilty on count(s)
 ~     Count(s) 2 ~ is      D are dismissed on the motion of the United States
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.




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DEFENDANT:                  JENNIFER JILL D'ANNA
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                                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

156 months as to count 1.

 C8l   The court makes the following recoJ)lillendations to the Bureau of Prisons:
        Defendant shall participate in the Bureau of Prisons' 500-hour Residential Drug Treatment Program (RDAP) if eligible.
        It is recommended that the Defendant be incarcerated at its facility in Minnesota due to proximity to extended family.




 C8l   The defendant is remanded to the custody of the United States Marshal.
 D     The defendant shall surrender to the United States Marshal for this district:


          D     at                                  D       a.m.     •      p.m.       on

          D     as notified by the United States Marshal.

 D     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          D     before 2 p.m. on
          D     as notified by the United States Marshal.
          D     as notified by the Probation or Pretrial Services Office.



                                                              RETURN
I have executed this judgment as follows:


        Defendant delivered on _ _ _ _ _ _ _ _ _ _ _ to


at _ _ _ _ _ _ _ _ _ _ _ __, with a certified copy of this judgment.




                                                                      UNITED STATES MARSHAL

                                                                      By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                      DEPlITY UNITED STATES MARSHAL
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DEFENDANT:                 JENNIFER JILL D'ANNA
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                                                 SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: five (S) years.

                                             MANDATORY CONDITIONS

 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            •    The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse. (check if applicable)
 4.   D     You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
            of restitution. (check if applicable)
 5.   !ZI   You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6.   D     You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
            seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
            you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.   D     You must participate in an approved program for domestic violence. (check if applicable)

          You must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.
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DEFENDANT:                  JENNIFER filL D'ANNA
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                                STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. lfnotifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a
written copy of this judgment containing these conditions. I understand additional information regarding these
conditions is available at https://www.mtp.uscourts.gov/post-conviction-supervision.


 Defendant's Signature                                                                             Date
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DEFENDANT:                JENNIFER JILL D'ANNA
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                                SPECIAL CONDITIONS OF SUPERVISION

1.      You must participate in a program for mental health treatment as approved by the United States Probation
        Office. You must remain in the program until you are released by the probation officer in consultation
        with the treatment provider. You must pay part 01: all of the costs of this treatment, depending upon your
        ability to pay, as directed by the probation officer.

2.      You must submit your person, residence, place of employment, vehicles, and papers, to a search, with or
        without a warrant by any probation officer based on reasonable suspicion of contraband or evidence in
        violation of a condition of release. Failure to submit to search may be grounds for revocation. You must
        warn any other occupants, adults and minors, that the premises may be subject to searches pursuant to this
        condition. You must allow seizure of suspected contraband for further examination.

3.      You must participate in and successfully complete a program of substance abuse treatment as approved
        by the probation officer. You must remain in the program until you are released by the probation officer
        in consultation with the treatment provider. You must pay part or all of the costs of this treatment,
        depending upon your ability to pay, as directed by the probation officer.

4.      You must abstain from the consumption of alcohol and shall not enter establishments where alcohol is the
        primary item of sale. You must not knowingly enter any dwelling or house where there is the active or
        ongoing use, abuse or consumption of alcohol or controlled substances and must not knowingly enter or
        stay in any dwelling or house where there is one or more persons who are consuming alcohol or
        participating in the consumption of alcoholic beverages or controlled substances, without the prior written
        approval of the supervising probation officer. You must not knowingly enter any automobile where a
        person possesses or is consuming alcohol or controlled substances. You are not to have any controlled
        substances that are not prescribed by a licensed medical doctor and supplied by a licensed medical
        pharmacy.

5.      You must participate in substance abuse testing, to include not more than 180 urinalysis tests, not more
        than 180 breathalyzer tests, and not more than 18 sweat patch applications annually during the period of
        supervision. You must pay all or part of the costs of testing, depending upon your ability to pay, as directed
        by the probation officer.

6.      You must not possess, ingest or inhale any psychoactive substances that are not manufactured for human
        consumption for the purpose of altering your mental or physical state. Psychoactive substances include,
        but are not limited to, synthetic marijuana, kratom and/or synthetic stimulants such as bath salts and spice.

7.      You must not purchase, possess, use, distribute, or administer marijuana, including marijuana that is used
        for medicinal purposes under state law.
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DEFENDANT:                    JENNIFER JILL D'ANNA
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                                         CRIMINAL MONETARY PENALTIES
                                                                    enalties under the schedule of a        ents on Sheet 6.
                                              Assessment                                                      Fine                   Restitution
 TOTALS                                          $100.00                                                      $.00                          $.00


            •               The determination of restitution is deferred until
                            (A0245C) will be entered after such determination.
                                                                                An Amended Judgment in a Criminal Case

            •               The defendant must make restitution (including community restitution) to the following payees in the
                            amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
         § 3664(i), all nonfederal victims must be paid before the United States is paid.



 D     Restitution amount ordered pursuant to plea agreement $
 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
       subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       D the interest requirement is waived for the          D fine                            D restitution
        D       the interest requirement for the                D     fine                            •     restitution is modified as follows :

• Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
•• Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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DEFENDANT:                     JENNIFER JILL D'ANNA
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                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      ~     Lump sum payments of$ 100.00 due immediately, balance due

        D     not later than                                     , or

        ~     in accordance with           0      C,         0          D,      D      E,or         ~      Fbelow; or

 B      D     Payment to begin immediately (may be combined with                D       C,          D      D,or               D      F below); or

 C      •     Payment in equal _ _ _ _ _ _ (e.g. , weekly, monthly, quarterly) installments of$ _ _ _ _ _ over a period of
              _ _ _ _ _ _ (e.g., months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment;
              or

 D      D     Payment in equal 20 (e.g ., weekly, monthly, quarterly) installments of$ _ _ _ _ _ over a period of
              _ _ _ _ _ _ (e.g., months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after release from
              imprisonment to a term of supervision; or

 E      D     Payment during the term of supervised release will commence within _ _ _ _ _ _ (e.g., 30 or 60 days) after release
              from imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that
              time; or

 F      ~     Special instructions regarding the payment of criminal monetary penalties:
              Criminal monetary penalty payments are due during imprisonment at the rate of not less than $25.00 per
              quarter, and payment shall be through the Bureau of Prisons' Inmate Financial Responsibility Program.
              Criminal monetary payments shall be made to the Clerk, United States District Court, P.O. Box 8537, Missoula,
              MT 59807.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 D      Joint and Several
        See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
        Several Amount, and corresponding payee, if appropriate.

        D Defendant shall receive credit on her restitution obligation for recovery from other defendants who contributed to the same
        loss that gave rise to defendant's restitution obligation.
 D      The defendant shall pay the cost of prosecution.
 D      The defendant shall pay the following court cost(s):
 ~      The defendant shall forfeit the defendant' s interest in the following property to the United States:
        Kel-Tec, Model P-11, 9mm pistol (SN: 10645A) and assorted ammunition (See Final Order, Doc. 104)

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) NTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
